           Case 2:10-cr-00364-MCE Document 54 Filed 06/09/11 Page 1 of 3


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 4   Telephone: (916) 554-2797
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) No. 2:10-CR-00364-MCE
                                  )
12                    Plaintiff, ) STIPULATION AND ORDER
                                  ) RESETTING STATUS CONFERENCE
13                v.              ) AND EXCLUDING TIME UNDER
                                  ) THE SPEEDY TRIAL ACT
14                                )
     SOHAIL MOHAMMAD AMIN, and    )
15   SAKANDER SULTAN AMIN         )
                                  )
16                    Defendants. )
     _____________________________)
17
18        The United States of America, through its counsels of record,
19   Benjamin B. Wagner, United States Attorney for the Eastern District
20   of California, and Michael M. Beckwith, Assistant United States
21   Attorney, defendant Sohail Mohammed Amin, through his counsel of
22   record, Patrick Hanly, Esq., and defendant Sakander Sultan Amin
23   through his counsel of record, Thomas Johnson, Esq., hereby
24   stipulate and agree that the status conference set for June 9, 2011,
25   be continued to June 23, 2011, at 9:00 a.m.
26        The parties need additional time for preparation.          Therefore,
27   the parties have agreed and respectfully request that the Court set
28   the date of June 23, 2011, at 9:00 a.m., for the status conference.

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           Case 2:10-cr-00364-MCE Document 54 Filed 06/09/11 Page 2 of 3


 1        Accordingly, the parties stipulate that time be excluded
 2   pursuant to 18 U.S.C. § 3161(h)(1)(F) and Local Code T4, United
 3   States Code section 3161(h)(7)(B)(iv), to give the defendant time to
 4   further review the discovery and to adequately prepare
 5   IT IS SO STIPULATED.
 6                                          BENJAMIN B. WAGNER
                                            United States Attorney
 7
 8   Dated: June 6, 2011              By:       /s/ Michael M. Beckwith
                                                MICHAEL M. BECKWITH
 9                                              Assistant U.S. Attorney
                                                Attorney for Plaintiff
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11
     DATED: June 6, 2011              By:       /s/ Patrick K. Hanly
12                                              PATRICK K. HANLY
                                                Attorney for Defendant
13                                              SOHAIL MOHAMMED AMIN
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     DATED: June 6, 2011              By:       /s/ Thomas Johnson
15                                              THOMAS JOHNSON
                                                Attorney for Defendant
16                                              SAKANDER SULTAN AMIN
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           Case 2:10-cr-00364-MCE Document 54 Filed 06/09/11 Page 3 of 3


 1                                      ORDER
 2        UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
 3   hereby ordered that this matter be set for further status conference
 4   as set forth above.
 5        The Court finds excludable time as set forth above to and
 6   including June 23, 2011.
 7        IT IS SO ORDERED.
 8
     Dated: June 8, 2011
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10                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
11                                      UNITED STATES DISTRICT JUDGE
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